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                            UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

Haas Outdoors, Inc.                              §
                                                 §
vs.                                              §      NO: AU:18-CV-00978-RP
                                                 §
Dryshod International, LLC, James K.             §
Donohue

                                     ORDER RESETTING


       The Court hereby resets and directs the parties, or counsel acting on their behalf, to appear
for a FINAL PRETRIAL CONFERENCE BY VIDEO on October 15, 2021 at 09:00 AM . The
courtroom deputy will send out connection information prior to the hearing.




               SIGNED on 13th day of October, 2021.



                                                     ______________________________
                                                     ROBERT PITMAN
                                                     UNITED STATES DISTRICT JUDGE
